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                     United States Court of Appeals
                                      For the First Circuit
                                     ____________________________
      No. 20-1280
                                             ALFRED MORIN,

                                            Plaintiff - Appellant,

                                                      v.

                WILLIAM LYVER, in his official capacity as Northborough Chief of Police;
                          COMMONWEALTH OF MASSACHUSETTS,

                                         Defendants - Appellees.
                                     ____________________________

                                               JUDGMENT

                                         Entered: August 2, 2023
                                       Pursuant to 1st Cir. R. 27.0(d)

             Upon consideration of parties' stipulated motion, it is hereby ordered that this appeal be
      voluntarily dismissed pursuant to Fed. R. App. P. 42(b)(2), with each party to bear its own costs.

             Mandate to issue forthwith.

                                                   By the Court:

                                                   Maria R. Hamilton, Clerk

      cc:
      David D. Jensen
      Timothy J. Casey
      Julia Eleanor Kobick
      Janelle M. Austin
      Neal Goldfarb
